                                          Case 2:22-cv-04355-JFW-JEM Document 425 Filed 10/02/23 Page 1 of 11 Page ID
                                                                          #:32565



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                                          14 YUGA LABS, INC.
                                          15
                                          16                             UNITED STATES DISTRICT COURT
                                          17                           CENTRAL DISTRICT OF CALIFORNIA
                                          18                              WESTERN DIVISION – Los Angeles
                                          19
                                          20 YUGA LABS, INC.,                             Case No.: 2:22-cv-04355-JFW-JEM
                                          21                     Plaintiff,               NOTICE OF FILING SEPARATE
                                                                                          DOCUMENTS FROM DKT. 421
                                          22          v.                                  JOINT STATEMENT RE
                                          23                                              DEFENDANTS’ PROPOSED POST-
                                               RYDER RIPPS, JEREMY CAHEN,                 TRIAL FINDINGS OF FACT AND
                                          24                                              CONCLUSIONS OF LAW AND
                                                                 Defendants.              YUGA LABS’ OBJECTIONS
                                          25
                                                                                          Trial Date: July 31, 2023
                                          26
                                          27
                                          28
                                               NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                               DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED                   Case No. 2:22-cv-04355-JFW-JEM
                                               POST TRIAL FOF, COL
                                          Case 2:22-cv-04355-JFW-JEM Document 425 Filed 10/02/23 Page 2 of 11 Page ID
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                       ATTORNEYS AT LAW




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                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED             Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
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                                            1           Pursuant to the Court’s September 29, 2023 Order (Dkt. 423), Yuga Labs
                                            2 respectfully submits the attached “separate document[s] for each disputed Finding of
                                            3 Fact and Conclusion of Law.” The documents attached to this notice are separated
                                            4 sections of the parties’ Joint Statement re Defendants’ Proposed Post-Trial Findings
                                            5 of Fact and Conclusions of Law and Yuga Labs’ Objections (Dkt. 421).
                                            6           The documents attached to this notice correspond to the following of
                                            7 Defendants’ Proposed Findings of Fact and Conclusions of Law:
                                            8    Attachment Proposed Finding of Fact or Conclusion of Law
                                            9        No.
                                          10          1     Defendants’ Disputed Post Trial Finding of Fact No. 3
                                                            (Witness Credibility)
                                          11
                                                        2         Defendants’ Disputed Post Trial Finding of Fact No. 4
                                          12                      (Witness Credibility)
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                                          13            3         Defendants’ Disputed Post Trial Finding of Fact No. 7
                                          14                      (Witness Credibility)

                                          15            4         Defendants’ Disputed Post Trial Finding of Fact No. 8
                                                                  (Witness Credibility)
                                          16
                                                        5         Defendants’ Disputed Post Trial Finding of Fact No. 9
                                          17                      (Defendants’ Intent)
                                          18            6         Defendants’ Disputed Post Trial Finding of Fact No. 10
                                          19                      (Defendants’ Intent)

                                          20            7         Defendants’ Disputed Post Trial Finding of Fact No. 11
                                                                  (Defendants’ Intent)
                                          21
                                                        8         Defendants’ Disputed Post Trial Finding of Fact No. 12
                                          22                      (Defendants’ Intent)
                                          23                      Defendants’ Disputed Post Trial Finding of Fact No. 13
                                                        9
                                          24                      (Defendants’ Intent)
                                          25           10         Defendants’ Disputed Post Trial Finding of Fact No. 14
                                                                  (NFT Definition)
                                          26
                                                       11         Defendants’ Disputed Post Trial Finding of Fact No. 15
                                          27                      (NFT Definition)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   1                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
                                          Case 2:22-cv-04355-JFW-JEM Document 425 Filed 10/02/23 Page 4 of 11 Page ID
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     12     Defendants’ Disputed Post Trial Finding of Fact No. 16
                                            3               (NFT Definition)
                                            4
                                                       13         Defendants’ Disputed Post Trial Finding of Fact No. 17
                                            5                     (Defendants’ Intent)
                                            6          14         Defendants’ Disputed Post Trial Finding of Fact No. 18
                                                                  (Defendants’ Intent)
                                            7
                                            8          15         Defendants’ Disputed Post Trial Finding of Fact No. 19
                                                                  (Defendants’ Intent)
                                            9
                                                       16         Defendants’ Disputed Post Trial Finding of Fact No. 20
                                          10                      (Defendants’ Intent)
                                          11           17         Defendants’ Disputed Post Trial Finding of Fact No. 21
                                                                  (Likelihood of Confusion)
                                          12
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                                                       18         Defendants’ Disputed Post Trial Finding of Fact No. 22
                       ATTORNEYS AT LAW




                                          13
                                                                  (Defendants’ Intent)
                                          14
                                                       19         Defendants’ Disputed Post Trial Finding of Fact No. 23
                                          15                      (Defendants’ Intent)
                                          16           20         Defendants’ Disputed Post Trial Finding of Fact No. 24
                                          17                      (Ownership of BAYC Marks)

                                          18           21         Defendants’ Disputed Post Trial Finding of Fact No. 25
                                                                  (Ownership of BAYC Marks)
                                          19
                                                       22         Defendants’ Disputed Post Trial Finding of Fact No. 26
                                          20                      (Ownership of BAYC Marks)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 28
                                                       23
                                          22                      (Ownership of BAYC Marks)

                                          23           24         Defendants’ Disputed Post Trial Finding of Fact No. 29
                                                                  (Ownership of BAYC Marks)
                                          24
                                                       25         Defendants’ Disputed Post Trial Finding of Fact No. 31
                                          25                      (Defendants’ Intent)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 32
                                                       26
                                          27                      (Likelihood of Confusion)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   2                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     27     Defendants’ Disputed Post Trial Finding of Fact No. 33
                                            3               (Likelihood of Confusion)
                                            4
                                                       28         Defendants’ Disputed Post Trial Finding of Fact No. 34
                                            5                     (Likelihood of Confusion)
                                            6          29         Defendants’ Disputed Post Trial Finding of Fact No. 35
                                                                  (Likelihood of Confusion)
                                            7
                                            8          30         Defendants’ Disputed Post Trial Finding of Fact No. 36
                                                                  (Likelihood of Confusion)
                                            9
                                                       31         Defendants’ Disputed Post Trial Finding of Fact No. 37
                                          10                      (Likelihood of Confusion)
                                          11           32         Defendants’ Disputed Post Trial Finding of Fact No. 38
                                                                  (Likelihood of Confusion)
                                          12
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                                                       33         Defendants’ Disputed Post Trial Finding of Fact No. 39
                       ATTORNEYS AT LAW




                                          13
                                                                  (Likelihood of Confusion)
                                          14
                                                       34         Defendants’ Disputed Post Trial Finding of Fact No. 40
                                          15                      (Likelihood of Confusion)
                                          16           35         Defendants’ Disputed Post Trial Finding of Fact No. 41
                                          17                      (Likelihood of Confusion)

                                          18           36         Defendants’ Disputed Post Trial Finding of Fact No. 42
                                                                  (Likelihood of Confusion)
                                          19
                                                       37         Defendants’ Disputed Post Trial Finding of Fact No. 43
                                          20                      (Likelihood of Confusion)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 44
                                                       38
                                          22                      (Likelihood of Confusion)

                                          23           39         Defendants’ Disputed Post Trial Finding of Fact No. 45
                                                                  (Likelihood of Confusion)
                                          24
                                                       40         Defendants’ Disputed Post Trial Finding of Fact No. 47
                                          25                      (Likelihood of Confusion)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 48
                                                       41
                                          27                      (Likelihood of Confusion)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   3                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
                                          Case 2:22-cv-04355-JFW-JEM Document 425 Filed 10/02/23 Page 6 of 11 Page ID
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     42     Defendants’ Disputed Post Trial Finding of Fact No. 49
                                            3               (Likelihood of Confusion)
                                            4
                                                       43         Defendants’ Disputed Post Trial Finding of Fact No. 50
                                            5                     (Likelihood of Confusion)
                                            6          44         Defendants’ Disputed Post Trial Finding of Fact No. 51
                                                                  (Likelihood of Confusion)
                                            7
                                            8          45         Defendants’ Disputed Post Trial Finding of Fact No. 52
                                                                  (Disgorgement)
                                            9
                                                       46         Defendants’ Disputed Post Trial Finding of Fact No. 53
                                          10                      (Bored Ape Yacht Club V3)
                                          11           47         Defendants’ Disputed Post Trial Finding of Fact No. 54
                                                                  (Bored Ape Yacht Club V3)
                                          12
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                                                       48         Defendants’ Disputed Post Trial Finding of Fact No. 55
                       ATTORNEYS AT LAW




                                          13
                                                                  (Bored Ape Yacht Club V3)
                                          14
                                                       49         Defendants’ Disputed Post Trial Finding of Fact No. 56
                                          15                      (Bored Ape Yacht Club V3)
                                          16           50         Defendants’ Disputed Post Trial Finding of Fact No. 58
                                          17                      (Witness Credibility)

                                          18           51         Defendants’ Disputed Post Trial Finding of Fact No. 59
                                                                  (Witness Credibility)
                                          19
                                                       52         Defendants’ Disputed Post Trial Finding of Fact No. 60
                                          20                      (Witness Credibility)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 61
                                                       53
                                          22                      (Witness Credibility)

                                          23           54         Defendants’ Disputed Post Trial Finding of Fact No. 62
                                                                  (Witness Credibility)
                                          24
                                                       55         Defendants’ Disputed Post Trial Finding of Fact No. 63
                                          25                      (Witness Credibility)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 64
                                                       56
                                          27                      (Witness Credibility)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   4                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     57     Defendants’ Disputed Post Trial Finding of Fact No. 65
                                            3               (Witness Credibility)
                                            4
                                                       58         Defendants’ Disputed Post Trial Finding of Fact No. 66
                                            5                     (Token Trackers)
                                            6          59         Defendants’ Disputed Post Trial Finding of Fact No. 67
                                                                  (Token Trackers)
                                            7
                                            8          60         Defendants’ Disputed Post Trial Finding of Fact No. 68
                                                                  (Token Trackers)
                                            9
                                                       61         Defendants’ Disputed Post Trial Finding of Fact No. 70
                                          10                      (Expert Testimony)
                                          11           62         Defendants’ Disputed Post Trial Finding of Fact No. 71
                                                                  (Expert Testimony)
                                          12
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                                                       63         Defendants’ Disputed Post Trial Finding of Fact No. 72
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                                          13
                                                                  (Expert Testimony)
                                          14
                                                       64         Defendants’ Disputed Post Trial Finding of Fact No. 73
                                          15                      (Expert Testimony)
                                          16           65         Defendants’ Disputed Post Trial Finding of Fact No. 74
                                          17                      (Expert Testimony)

                                          18           66         Defendants’ Disputed Post Trial Finding of Fact No. 75
                                                                  (Expert Testimony)
                                          19
                                                       67         Defendants’ Disputed Post Trial Finding of Fact No. 76
                                          20                      (Expert Testimony)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 77
                                                       68
                                          22                      (Expert Testimony)

                                          23           69         Defendants’ Disputed Post Trial Finding of Fact No. 78
                                                                  (Expert Testimony)
                                          24
                                                       70         Defendants’ Disputed Post Trial Finding of Fact No. 79
                                          25                      (Expert Testimony)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 80
                                                       71
                                          27                      (Expert Testimony)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   5                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     72     Defendants’ Disputed Post Trial Finding of Fact No. 83
                                            3               (Expert Testimony)
                                            4
                                                       73         Defendants’ Disputed Post Trial Finding of Fact No. 84
                                            5                     (Expert Testimony)
                                            6          74         Defendants’ Disputed Post Trial Finding of Fact No. 86
                                                                  (Expert Testimony)
                                            7
                                            8          75         Defendants’ Disputed Post Trial Finding of Fact No. 87
                                                                  (Expert Testimony)
                                            9
                                                       76         Defendants’ Disputed Post Trial Finding of Fact No. 88
                                          10                      (Expert Testimony)
                                          11           77         Defendants’ Disputed Post Trial Finding of Fact No. 89
                                                                  (Expert Testimony)
                                          12
F ENWICK & W EST LLP




                                                       78         Defendants’ Disputed Post Trial Finding of Fact No. 90
                       ATTORNEYS AT LAW




                                          13
                                                                  (Expert Testimony)
                                          14
                                                       79         Defendants’ Disputed Post Trial Finding of Fact No. 91
                                          15                      (Expert Testimony)
                                          16           80         Defendants’ Disputed Post Trial Finding of Fact No. 92
                                          17                      (Expert Testimony)

                                          18           81         Defendants’ Disputed Post Trial Finding of Fact No. 95
                                                                  (Expert Testimony)
                                          19
                                                       82         Defendants’ Disputed Post Trial Finding of Fact No. 96
                                          20                      (Expert Testimony)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 97
                                                       83
                                          22                      (Expert Testimony)

                                          23           84         Defendants’ Disputed Post Trial Finding of Fact No. 98
                                                                  (Expert Testimony)
                                          24
                                                       85         Defendants’ Disputed Post Trial Finding of Fact No. 99
                                          25                      (Expert Testimony)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 100
                                                       86
                                          27                      (Expert Testimony)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   6                 Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     87     Defendants’ Disputed Post Trial Finding of Fact No. 101
                                            3               (Expert Testimony)
                                            4
                                                       88         Defendants’ Disputed Post Trial Finding of Fact No. 102
                                            5                     (Expert Testimony)
                                            6          89         Defendants’ Disputed Post Trial Finding of Fact No. 103
                                                                  (Likelihood of Confusion)
                                            7
                                            8          90         Defendants’ Disputed Post Trial Finding of Fact No. 104
                                                                  (Defendants’ Profits)
                                            9
                                                       91         Defendants’ Disputed Post Trial Finding of Fact No. 105
                                          10                      (Defendants’ Profits)
                                          11           92         Defendants’ Disputed Post Trial Finding of Fact No. 107
                                                                  (Defendants’ Profits)
                                          12
F ENWICK & W EST LLP




                                                       93         Defendants’ Disputed Post Trial Finding of Fact No. 108
                       ATTORNEYS AT LAW




                                          13
                                                                  (Expert Testimony)
                                          14
                                                       94         Defendants’ Disputed Post Trial Finding of Fact No. 109
                                          15                      (Defendants’ Profits)
                                          16           95         Defendants’ Disputed Post Trial Finding of Fact No. 111
                                          17                      (Expert Testimony)

                                          18           96         Defendants’ Disputed Post Trial Finding of Fact No. 112
                                                                  (Defendants’ Profits)
                                          19
                                                       97         Defendants’ Disputed Post Trial Finding of Fact No. 113
                                          20                      (Defendants’ Profits)
                                          21                      Defendants’ Disputed Post Trial Finding of Fact No. 114
                                                       98
                                          22                      (Defendants’ Intent)

                                          23           99         Defendants’ Disputed Post Trial Finding of Fact No. 115
                                                                  (Defendants’ intent)
                                          24
                                                       100        Defendants’ Disputed Post Trial Finding of Fact No. 116
                                          25                      (Defendants’ Intent)
                                          26                      Defendants’ Disputed Post Trial Finding of Fact No. 117
                                                       101
                                          27                      (Ape Market)
                                          28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   7                 Case No. 2:22-cv-04355-JFW-JEM
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     102    Defendants’ Disputed Post Trial Finding of Fact No. 118
                                            3               (Ape Market)
                                            4
                                                       103        Defendants’ Disputed Post Trial Finding of Fact No. 119
                                            5                     (Exceptional Case)
                                            6          104        Defendants’ Disputed Post Trial Finding of Fact No. 120
                                                                  (Defendants’ Intent)
                                            7
                                            8          105        Defendants’ Disputed Post Trial Finding of Fact No. 121
                                                                  (Exceptional Case)
                                            9
                                                       106        Defendants’ Disputed Post Trial Finding of Fact No. 123
                                           10                     (Exceptional Case)
                                           11          107        Defendants’ Disputed Post Trial Finding of Fact No. 124
                                                                  (Injunctive Relief)
                                           12
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                                                       108        Defendants’ Disputed Post Trial Finding of Fact No. 125
                       ATTORNEYS AT LAW




                                           13
                                                                  (Exceptional Case)
                                           14
                                                       109        Defendants’ Disputed Post Trial Finding of Fact No. 126
                                           15                     (Exceptional Case)
                                           16          110        Defendants’ Disputed Post Trial Finding of Fact No. 127
                                           17                     (Exceptional Case)

                                           18          111        Defendants’ Disputed Post Trial Finding of Fact No. 128
                                                                  (Exceptional Case)
                                           19
                                                       112        Defendants’ Disputed Post Trial Conclusion of Law No. 130
                                           20                     (Disgorgement)
                                           21                     Defendants’ Disputed Post Trial Conclusion of Law No. 131
                                                       113
                                           22                     (Disgorgement)

                                           23          114        Defendants’ Disputed Post Trial Conclusion of Law No. 132
                                                                  (Disgorgement)
                                           24
                                                       115        Defendants’ Disputed Post Trial Conclusion of Law No. 134
                                           25                     (Disgorgement)
                                           26                     Defendants’ Disputed Post Trial Conclusion of Law No. 135
                                                       116
                                           27                     (Disgorgement)
                                           28
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED   8                 Case No. 2:22-cv-04355-JFW-JEM
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                                            1    Attachment Proposed Finding of Fact or Conclusion of Law
                                            2        No.
                                                     117    Defendants’ Disputed Post Trial Conclusion of Law No. 136
                                            3               (Disgorgement)
                                            4
                                                       118        Defendants’ Disputed Post Trial Conclusion of Law No. 137
                                            5                     (Cybersquatting Damages)
                                            6          119        Defendants’ Disputed Post Trial Conclusion of Law No. 138
                                                                  (Cybersquatting Damages)
                                            7
                                            8          120        Defendants’ Disputed Post Trial Conclusion of Law No. 139
                                                                  (Cybersquatting Damages)
                                            9
                                                       121        Defendants’ Disputed Post Trial Conclusion of Law No. 140
                                           10                     (Cybersquatting Damages)
                                           11          122        Defendants’ Disputed Post Trial Conclusion of Law No. 143
                                                                  (Injunctive Relief)
                                           12
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                                                       123        Defendants’ Disputed Post Trial Conclusion of Law No. 144
                       ATTORNEYS AT LAW




                                           13
                                                                  (Injunctive Relief)
                                           14
                                                       124        Defendants’ Disputed Post Trial Conclusion of Law No. 145
                                           15                     (Injunctive Relief)
                                           16          125        Defendants’ Disputed Post Trial Conclusion of Law No. 150
                                           17                     (Exceptional Case)

                                           18          126        Defendants’ Disputed Post Trial Conclusion of Law No. 151
                                                                  (Exceptional Case)
                                           19
                                                       127        Defendants’ Disputed Post Trial Conclusion of Law No. 152
                                           20                     (Exceptional Case)
                                           21                     Defendants’ Disputed Post Trial Conclusion of Law No. 153
                                                       128
                                           22                     (Exceptional Case)

                                           23
                                           24 Dated: October 2, 2023                       FENWICK & WEST LLP
                                           25
                                           26                                              By: /s/ Eric Ball
                                                                                               Eric Ball
                                           27                                              Attorneys for Plaintiff
                                           28                                              YUGA LABS, INC.
                                                NOTICE OF FILING SEPARATE DOCUMENTS FROM
                                                DKT. 421 JT STATEMENT RE DEFTS’ PROPOSED      9                  Case No. 2:22-cv-04355-JFW-JEM
                                                POST TRIAL FOF, COL
